                     Case 2:14-cr-00228-JAD-CWH Document 225 Filed 09/23/16 Page 1 of 6
$2% 5HY -XGJPHQWLQD&ULPLQDO&DVH
                      6KHHW



                                          81,7('67$7(6',675,&7&2857
                                                                 District of Nevada
                                                          BBBBBBBBBB'LVWULFWRIBBBBBBBBBB
              81,7('67$7(62)$0(5,&$                                                JUDGMENT IN A CRIMINAL CASE
                                   v.
               CHARLES EDWARD COOPER, JR.                                             &DVH1XPEHU 2:14-CR-00228-JAD-CWH
                                                                                      8601XPEHU 49219-048
                                                                                       Pro Se
                                                                                      'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
G SOHDGHGJXLOW\WRFRXQW V
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
   ZKLFKZDVDFFHSWHGE\WKHFRXUW
✔ ZDVIRXQGJXLOW\RQFRXQW V
G                                         One of the Indictment
   DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section                                 Nature of Offense                                             Offense Ended              Count
 18 USC § 922(g)(1) and 924(a)(2)                   Felon in Possession of a Firearm                            5/31/2014                 1




       7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                  6         RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
WKH6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
G &RXQW V                                                   G LV     G DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV
                                                                            9/22/2016
                                                                           'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                                           6LJQDWXUHRI-XGJH




                                                                           JENNIFER A. DORSEY, U.S. DISTRICT JUDGE
                                                                           1DPHDQG7LWOHRI-XGJH

                                                                             9/23/2016
                                                                           'DWH
                     Case 2:14-cr-00228-JAD-CWH Document 225 Filed 09/23/16 Page 2 of 6
$2% 5HY -XGJPHQWLQ&ULPLQDO&DVH
                        6KHHW²,PSULVRQPHQW

                                                                                                       -XGJPHQW²3DJH   2       RI   6
'()(1'$17 CHARLES EDWARD COOPER, JR.
&$6(180%(5 2:14-CR-00228-JAD-CWH

                                                            IMPRISONMENT
        7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
WHUPRI
    TEN (10) YEARS




      G
      ✔ 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV



    The Court recommends the defendant be permitted to serve his term of incarceration at FCI Phoenix. The Court further
    recommends the defendant participate in the RDAP program if he qualifies.


      G
      ✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

      G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
          G DW                                     G DP      G SP         RQ                                             

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

      G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
          G EHIRUHSPRQ                                              

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
          G DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                  RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                         WR

D                                                   ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                    81,7('67$7(60$56+$/


                                                                          %\
                                                                                                 '(387<81,7('67$7(60$56+$/
                     Case 2:14-cr-00228-JAD-CWH Document 225 Filed 09/23/16 Page 3 of 6
$2% 5HY -XGJPHQWLQD&ULPLQDO&DVH
                       6KHHW²6XSHUYLVHG5HOHDVH
                                                                                                         -XGJPHQW²3DJH       3     RI         6
 '()(1'$17 CHARLES EDWARD COOPER, JR.
 &$6(180%(5 2:14-CR-00228-JAD-CWH
                                                          SUPERVISED RELEASE
 8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI
 THREE (3) YEARS

         7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFWWRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVHIURPWKH
 FXVWRG\RIWKH%XUHDXRI3ULVRQV
 7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
 7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
 VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
 WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW, not to exceed 104 tests annually. Revocation is mandatory for refusal to comply.
 G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
       IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)

 G 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
 G
 ✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)

 G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW      86&et seq
   DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
       ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

 G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
         ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
 6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
           7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDOFRQGLWLRQV
 RQWKHDWWDFKHGSDJH

                                         STANDARD CONDITIONS OF SUPERVISION
        WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
        WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZ IXORFFXSDWLRQXQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJR URWKHU
         DFFHSWDEOHUHDVRQV
        WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
        WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
         FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
        WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
        WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
         IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
       WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
         FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
       WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
       WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHH PHQWWRDFWDVDQ LQIRUPHURUDVSHFLDODJHQWRIDODZHQIRUFHP HQWDJHQF\ZLWKRXWWKH
         SHUPLVVLRQRIWKHFRXUWDQG
       DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
         UHFRUG RUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUP LWWKH SUREDWLRQ RIILFHUWRP DNH VXFKQRWLILFDWLRQVDQGWRFRQILUP  WKH
         GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
                    Case 2:14-cr-00228-JAD-CWH Document 225 Filed 09/23/16 Page 4 of 6
$2% 5HY -XGJPHQWLQD&ULPLQDO&DVH
         6KHHW&²6XSHUYLVHG5HOHDVH
                                                                                               -XGJPHQW²3DJH    4   RI    6
'()(1'$17 CHARLES EDWARD COOPER, JR.
&$6(180%(5 2:14-CR-00228-JAD-CWH

                                          SPECIAL CONDITIONS OF SUPERVISION
 1. Alcohol Abstinence - You shall refrain from the use and possession of beer, wine, liquor, and other forms of intoxicants.

 2. Warrantless Search - You shall submit your person, property, residence, place of business and vehicle under your
 control to a search, conducted by the United States probation officer or any authorized person under the immediate and
 personal supervision of the probation officer, at a reasonable time and in a reasonable manner, based upon reasonable
 suspicion of contraband or evidence of a violation of a condition of supervision; failure to submit to a search may be
 grounds for revocation; the defendant shall inform any other residents that the premises may be subject to a search
 pursuant to this condition

 3. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
 device, or other dangerous weapons, as defined by federal, state, or local law.

 4. True Name - You shall use your true name at all times and will be prohibited from the use of any aliases, false dates of
 birth, social security numbers, places of birth, and any other pertinent demographic information.

 5. Report to Probation Officer After Release from Custody - You shall report, in person, to the probation office in the district
 to which you are released within 72 hours of discharge from custody.




                  ACKNOWLEDGEMENT


                  Upon finding of a violation of probation or supervised release, I understand that the court may
                  (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
                  supervision.

                  These conditions have been read to me. I fully understand the conditions and have been provided
                  a copy of them.


                  (Signed)           _________________________                        ______________________
                                     Defendant                                        Date


                                    ___________________________                       _______________________
                                    U.S. Probation/Designated Witness                 Date
                      Case 2:14-cr-00228-JAD-CWH Document 225 Filed 09/23/16 Page 5 of 6
$2% 5HY -XGJPHQWLQD&ULPLQDO&DVH
         6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                    -XGJPHQW²3DJH       5     RI         6
 '()(1'$17 CHARLES EDWARD COOPER, JR.
 &$6(180%(5 2:14-CR-00228-JAD-CWH
                                                CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                                       Fine                               Restitution
 TOTALS             $ 100.00                                         $                                  $


 G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                 $QAmended Judgment in a Criminal Case(AO 245C) ZLOOEHHQWHUHG
      DIWHUVXFKGHWHUPLQDWLRQ

 G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
      ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
      WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
      EHIRUHWKH8QLWHG6WDWHVLVSDLG

   Name of Payee                                                           Total Loss*        Restitution Ordered Priority or Percentage




 TOTALS                                                      0.00                                0.00


 G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

 G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
       ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
       WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

 G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

       G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH          G ILQH      G UHVWLWXWLRQ
       G WKHLQWHUHVWUHTXLUHPHQWIRUWKH          G ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV

  )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRP
                                                                                                                            PLWWHGRQRUDIWHU
 6HSWHPEHUEXWEHIRUH$SULO
                     Case 2:14-cr-00228-JAD-CWH Document 225 Filed 09/23/16 Page 6 of 6
$2% 5HY -XGJPHQWLQD&ULPLQDO&DVH
         6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                                 -XGJPHQW²3DJH       6      RI          6
 '()(1'$17 CHARLES EDWARD COOPER, JR.
 &$6(180%(5 2:14-CR-00228-JAD-CWH

                                                       SCHEDULE OF PAYMENTS

 +DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

 A     G
       ✔ /XPSVXPSD\PHQWRI             100.00                GXHLPPHGLDWHO\EDODQFHGXH

            G      QRWODWHUWKDQ                                     RU
            G      LQDFFRUGDQFH          G &       G '        G (RU         G )EHORZRU
 B     G 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                  G &         G 'RU       G )EHORZ RU
 C     G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                            RYHUDSHULRGRI
                            (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

 D     G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                         RYHUDSHULRGRI
                            (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
            WHUPRIVXSHUYLVLRQRU

 E     G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                     (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
            LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

 F     G 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV




 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
 WKHSHULRGRILPSULVRQPHQW  $OO FULPLQDO PRQHWDU\ SHQDOWLHV H[FHSW WKRVH SD\PHQWV PDGH WKURXJK WKH )HGHUDO %XUHDX RI 3ULVRQV¶
 ,QPDWH )LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



 G -RLQWDQG6HYHUDO
       'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV(including defendant number)7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
       DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




 G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
 G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 
 G 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV



 3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
   ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
